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                                                                                  E-FILED
                                                    Monday, 15 October, 2018 04:47:44 PM
                                                             Clerk, U.S. District Court, ILCD

                UNITED STATES DISTRICT COURT
             FOR THE CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD, ILLINOIS

UNITED STATES OF AMERICA,              )
                                       )
     Plaintiff,                        )
                                       )
v.                                     ) 18-cr-30053-SEM-TSH
                                       )
MATTHEW MORLEE,                        )
                                       )
     Defendant.                        )

 MOTION TO HAVE ATTORNEY CHRIS AMERO APPOINTED AS
         AN ADDITIONAL ATTORNEY OF RECORD

     Defendant, Matthew Morlee, by and through his attorney,

Douglas J. Quivey, of the Federal Public Defender's Office for the

Central District of Illinois, moves to have Attorney Chris Amero

appointed pro bono as an additional attorney for Mr. Morlee and in

support states as follows:

     1. On September 14, 2018, Mr. Morlee was arraigned.

     2. Attorney Chris Amero is on the CJA training panel and

needs to second chair a second case pro bono to complete the

training process. Mr. Amero was previously appointed in United

States v. Goodwill, 18-20025 but had to withdraw because of a

potential conflict.
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     WHEREFORE, Defendant respectfully prays that Mr. Amero be

appointed pro bono as an additional attorney of record.

                          Respectfully submitted,

                          MATTHEW MORLEE, Defendant,

                          By: s/ Douglas J. Quivey
                          Douglas J. Quivey
                          Assistant Federal Public Defender
                          Office of the Federal Public Defender
                          600 East Adams, 3rd Floor
                          Springfield, Illinois 62701
                          Telephone: (217) 492-5070
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                          E-mail: doug_quivey@fd.org




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                     CERTIFICATE OF SERVICE

      I hereby certify that on October 15, 2018, I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system
which will send notification of such filing to the following:

Mr. Matt Weir
Assistant United States Attorney
Office of the U.S. Attorney
318 South Sixth Street
Springfield, IL 62701-1806


                           By:s/ Douglas J. Quivey
                           Douglas J. Quivey
                           Assistant Federal Public Defender
                           Office of the Federal Public Defender
                           600 East Adams, 3rd Floor
                           Springfield, Illinois 62701
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